     Case 1:23-cr-00047-MHC-JEM Document 35 Filed 05/30/23 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA

      v.
                                            CRIMINAL ACTION NO.
KRISTOPHER KNEUBUHLER,                      1:23-CR-00047-MHC-JEM-1

      Defendants.


                                      ORDER

      The Court sets this briefing schedule for the following pending motion:

The Government shall have through and including Monday, July 3, 2023 to file

its response to Defendant Kneubuhler’s motion to suppress search and seizure,

[Doc. 31]. Defendant shall file its reply brief by Monday, July 17, 2023.

      IT IS HEREBY ORDERED that the period between May 30, 2023, and the

date to complete the briefing, July 17, 2023, shall be excluded pursuant to the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv). The Court finds that it

needed to allow reasonable time for preparation and also found that the ends of

justice served thereby outweigh the interest of the public and the defendant in a

speedy trial.
      IT IS SO ORDERED, this 30th day of May, 2023.
